Case 2:17-cv-00786-JRG-RSP Document 9 Filed 03/08/18 Page 1 of 3 PageID #: 169




                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                MARSHALL DIVISION

SYMBOLOGY INNOVATIONS, LLC,

               Plaintiff,
                                                               No. 2:17-cv-786-JRG-RSP
       v.
                                                                    PATENT CASE
EATON CORPORATION,
                                                              JURY TRIAL DEMANDED
               Defendant.


                    UNOPPOSED MOTION TO SUBSTITUTE PARTY

       Plaintiff Symbology Innovations, LLC (“Symbology”) submits this Unopposed Motion to

Substitute Party (“Motion”), and in support thereof states:

       1.      On December 22, 2017, Symbology filed suit against Eaton Corporation (“Eaton”)

alleging infringement of U.S. Patent Nos. 7,992,773; 8,424,752; 8,651,369; and 8,936,190 (the

“Asserted Patents”). On February 22, 2018, the Court granted Eaton’s second Unopposed

Application for Extension of Time to Answer Complaint, setting Eaton’s deadline to answer,

move, or otherwise respond to the Complaint to March 13, 2018.

       2.      Symbology and Eaton agree to substitute Cooper Bussmann, LLC (“Cooper

Bussmann”) as Defendant in the above-captioned matter so that all claims made against Eaton are

now made against Cooper Bussmann. Symbology and Eaton agree to dismiss Eaton without

prejudice as allowed under Rule 41(a)(2) of the Federal Rules of Civil Procedure.

       3.      Symbology has not released, and nothing in this Motion should be construed as a

release or discharge of, any claim Symbology has or may have in the future against any defendant

named in this action or any other asserted infringer of the Asserted Patents. All other rights have

been expressly reserved.
Case 2:17-cv-00786-JRG-RSP Document 9 Filed 03/08/18 Page 2 of 3 PageID #: 170




       4.      Cooper Bussmann has not waived, and nothing in this Motion should be construed

as a waiver of, any defenses Cooper Bussmann has or may have in the future against any claims

in this action. All other rights have been expressly reserved.

       Accordingly, Symbology requests that the Court enter an order dismissing Eaton

Corporation without prejudice and adding Cooper Bussmann, LLC as Defendant.



Dated: March 8, 2018                              Respectfully submitted,


                                                  By: /s/ Thomas C. Wright
                                                      Thomas C. Wright, Ph.D.
                                                      State Bar No. 24028146
                                                      Alex J. Whitman
                                                      State Bar No. 24081210
                                                      Cunningham Swaim, LLP
                                                      7557 Rambler Road, Suite 400
                                                      Dallas, TX 75231
                                                      Telephone: (214) 646-1495
                                                      twright@cunninghamswaim.com
                                                      awhitman@cunninghamswaim.com

                                                  COUNSEL FOR PLAINTIFF
                                                  SYMBOLOGY INNOVATIONS, LLC
Case 2:17-cv-00786-JRG-RSP Document 9 Filed 03/08/18 Page 3 of 3 PageID #: 171




                           CERTIFICATE OF CONFERENCE


       The undersigned hereby certifies that undersigned counsel conferred electronically on

February 26, 2018 with counsel for Eaton Corporation and Cooper Bussmann, LLC. Eaton

Corporation and Cooper Bussmann, LLC do not oppose the relief sought herein.

                                               /s/ Thomas C. Wright
                                               Thomas C. Wright



                               CERTIFICATE OF SERVICE


       The undersigned hereby certifies that a true and correct copy of the above and foregoing

document has been served on March 8, 2018, to all counsel of record who are deemed to have

consented to electronic service via the Court’s CM/ECF system per Local Rule CV-5(a)(3).



                                               /s/ Thomas C. Wright
                                               Thomas C. Wright
